                  Case 24-04697                  Doc 37           Filed 06/20/24 Entered 06/20/24 16:14:48                                    Desc Main
                                                                    Document     Page 1 of 3
Fill in this information to identify your case:

Debtor 1                   Katherine M Barth
                           First Name                      Middle Name                      Last Name

Debtor 2
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ILLINOIS

Case number           24-04697
(if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        AmeriCredit Fin Svcs.,
2.1                                                                                                            $15,300.00               $32,252.00                     $0.00
        Inc. dba GM                              Describe the property that secures the claim:
        Creditor's Name                          2019 Chevrolet Tahoe LT 75000
                                                 miles Valued via KBB
        Attn: Bankruptcy
                                                 As of the date you file, the claim is: Check all that
        Po Box 183853                            apply.
        Arlington, TX 76096                          Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)
      community debt

                                Opened
                                05/19 Last
                                Active
Date debt was incurred          10/03/23                  Last 4 digits of account number        7196




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Debtor 1 Katherine M Barth                                                                                   Case number (if known)   24-04697
              First Name                  Middle Name                      Last Name


        BMO Bank N.A. c/o AIS
2.2                                                                                                                 $28,800.00          $29,791.00         $0.00
        Portfolio Ser                              Describe the property that secures the claim:
        Creditor's Name                            2019 RAM 1500 Rebel 73000 miles
                                                   Valued via KBB
        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        Po Box 2035                                apply.
        Milwaukee, WI 53201                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                01/21 Last
                                Active
Date debt was incurred          10/26/23                    Last 4 digits of account number         7118


2.3     Equiant/Thousand Trails                    Describe the property that secures the claim:                      $4,544.00          $5,500.00         $0.00
        Creditor's Name                            Saphire Resorts Time Share

        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        500 N Juniper Dr, Ste 100                  apply.
        Chandler, AZ 85226                              Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                08/19 Last
                                Active
Date debt was incurred          10/30/23                    Last 4 digits of account number         7602




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                Case 24-04697                    Doc 37              Filed 06/20/24 Entered 06/20/24 16:14:48                                Desc Main
                                                                       Document     Page 3 of 3
Debtor 1 Katherine M Barth                                                                                   Case number (if known)   24-04697
              First Name                  Middle Name                      Last Name


2.4     M&T                                        Describe the property that secures the claim:                   $273,673.00           $436,300.00           $0.00
        Creditor's Name                            636 Sycamore Lane Wheeling, IL
                                                   60090 Cook County
                                                   Primary Residence. Valued via
                                                   Zillow. TBE Deed Recorded 7/9/15
        Attn: Bankruptcy                           as 1519056051
                                                   As of the date you file, the claim is: Check all that
        PO Box 840                                 apply.
        Buffalo, NY 14240                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                Opened
                                07/19 Last
Date debt was incurred          Active 01/23                Last 4 digits of account number         1431



  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $322,317.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $322,317.00

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




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